Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 1 of 23 PageID #:2511




      EXHIBIT C
           Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 2 of 23 PageID #:2512


Zachary Mulcrone

From:                               Huicochea, Elodia <Elodia.Huicochea@finra.org>
Sent:                               Thursday, January 13, 2022 1:32 PM
To:                                 'Guerette, Susan'; Chris Griesmeyer
Subject:                            RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor


Thank you for the prompt response.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office

From: Guerette, Susan <sguerette@fisherphillips.com>
Sent: Wednesday, January 12, 2022 11:01 AM
To: Huicochea, Elodia <Elodia.Huicochea@finra.org>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Cc: Guerette, Susan <sguerette@fisherphillips.com>
Subject: FW: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

EXTERNAL: Verify sender before opening attachments or links.

Good morning, it is acceptable to Fidelity to proceed on the regular arbitration route.

Regards,
Susan

From: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Sent: Monday, January 10, 2022 1:46 PM
To: Guerette, Susan <sguerette@fisherphillips.com>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

CAUTION: This email originated from outside of the Firm. Do not click links or open attachments unless you recognize the sender
and know the content is safe.


Good afternoon,

FINRA is attempting to determine the status of the above-referenced matter. Please advise if this case can now proceed
on the regular arbitration route.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office

From: Guerette, Susan <sguerette@fisherphillips.com>
Sent: Monday, November 8, 2021 5:32 PM

                                                               1
                                               Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 3 of 23 PageID #:2513
To: Huicochea, Elodia <Elodia.Huicochea@finra.org>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

EXTERNAL: Verify sender before opening attachments or links.

Hi, yes, we do intend to pursue this case. Thank you.

                                                                                                          Susan M. Guerette
    The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that
    the link points to the correct file and location.




                                                                                                          Attorney at Law
                                                                                                          Fisher & Phillips LLP
                                                                                                          Two Logan Square | 12th Floor | 100 N. 18th Street | Philadelphia, PA 19103
                                                                                                          sguerette@fisherphillips.com | O: (610) 230-2133 | F: (610) 230-2151
                                                                                                                            vCard [fisherphillips.com]
                                                                                                                 [nam12.safelinks.protection.outlook.com] | Bio
                                                                                                                               [fisherphillips.com]                On the Front Lines of
                                                                                                               [nam12.safelinks.protection.outlook.com] | Website Workplace Law℠
                                                                                                                               [fisherphillips.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]

                                                                                                          This message may contain confidential and privileged information. If it has been sent to you in error, please
                                                                                                          reply to advise the sender of the error, then immediately delete this message.




From: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Sent: Monday, November 8, 2021 1:21 PM
To: Guerette, Susan <sguerette@fisherphillips.com>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

CAUTION: This email originated from outside of the Firm. Do not click links or open attachments unless you recognize the sender
and know the content is safe.



Good morning,

FINRA is attempting to determine the status of the above-referenced matter. Please advise this office by November 12,
2021 if you intend to pursue this matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
Follow us on Twitter @FINRA [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]


                                                                                                                                                                     2
                                               Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 4 of 23 PageID #:2514




From: Guerette, Susan <sguerette@fisherphillips.com>
Sent: Monday, September 27, 2021 11:53 AM
To: Huicochea, Elodia <Elodia.Huicochea@finra.org>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Cc: Guerette, Susan <sguerette@fisherphillips.com>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

EXTERNAL: Verify sender before opening attachments or links.

Good morning, yes, Fidelity intends to pursue this matter. We are still awaiting a decision from the Court.

Regards,
Susan

                                                                                                          Susan M. Guerette
    The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that
    the link points to the correct file and location.




                                                                                                          Attorney at Law
                                                                                                          Fisher & Phillips LLP
                                                                                                          Two Logan Square | 12th Floor | 100 N. 18th Street | Philadelphia, PA 19103
                                                                                                          sguerette@fisherphillips.com | O: (610) 230-2133 | F: (610) 230-2151
                                                                                                                            vCard [fisherphillips.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]
                                                                                                                 [nam12.safelinks.protection.outlook.com] | Bio
                                                                                                                               [fisherphillips.com]
                                                                                                                                                                   On the Front Lines of
                                                                                                                    [nam12.safelinks.protection.outlook.com]      Workplace Law℠
                                                                                                               [nam12.safelinks.protection.outlook.com] | Website
                                                                                                                               [fisherphillips.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]

                                                                                                          This message may contain confidential and privileged information. If it has been sent to you in error, please
                                                                                                          reply to advise the sender of the error, then immediately delete this message.




From: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Sent: Monday, September 27, 2021 11:43 AM
To: Guerette, Susan <sguerette@fisherphillips.com>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good morning,

FINRA is attempting to determine the status of the above-referenced matter. Please advise this case can now proceed
office by October 1, 2021 if you intend to pursue this matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
                                                                                                                                                                     3
         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 5 of 23 PageID #:2515
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com]
Follow us on Twitter @FINRA [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com]




From: Huicochea, Elodia
Sent: Tuesday, September 21, 2021 11:00 AM
To: Guerette, Susan <sguerette@fisherphillips.com>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good morning,

Please provide our office with an update with regards to the above mentioned matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com]
Follow us on Twitter @FINRA [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com]




From: Huicochea, Elodia
Sent: Monday, July 26, 2021 11:26 AM
To: Guerette, Susan <sguerette@fisherphillips.com>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Cc: Dang-Vu, Khoi <Khoi.Dang-Vu@finra.org>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good morning,

Please provide our office with an update with regards to the above mentioned matter.

                                                          4
         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 6 of 23 PageID #:2516


Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com]
Follow us on Twitter @FINRA [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com]




From: Huicochea, Elodia
Sent: Monday, May 24, 2021 12:56 PM
To: Guerette, Susan <sguerette@fisherphillips.com>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Cc: Dang-Vu, Khoi <Khoi.Dang-Vu@finra.org>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good morning,

FINRA is attempting to determine the status of the above-referenced matter. Please advise this office by May 28, 2021 if
you intend to pursue this matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office

From: Huicochea, Elodia
Sent: Wednesday, May 12, 2021 9:59 AM
To: Guerette, Susan <sguerette@fisherphillips.com>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Cc: Dang-Vu, Khoi <Khoi.Dang-Vu@finra.org>
Subject: FW: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor
Importance: High

Good morning,

Please provide our office with an update with regards to the above mentioned matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
                                                            5
         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 7 of 23 PageID #:2517
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com]
Follow us on Twitter @FINRA [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com]




From: Huicochea, Elodia
Sent: Tuesday, May 4, 2021 1:30 PM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Cc: Dang-Vu, Khoi <Khoi.Dang-Vu@finra.org>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

Hope all is well. Please provide our office with an update with regards to the court proceeding for the above mentioned
matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com]
Follow us on Twitter @FINRA [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com]




From: Guerette, Susan <sguerette@fisherphillips.com>
Sent: Tuesday, March 23, 2021 7:01 PM
To: Huicochea, Elodia <Elodia.Huicochea@finra.org>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Cc: Dang-Vu, Khoi <Khoi.Dang-Vu@finra.org>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor


EXTERNAL: Verify sender before opening attachments or links.


                                                               6
           Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 8 of 23 PageID #:2518
Good afternoon,

We are currently briefing injunctive relief in Court and then expect a determination.

Thank you.

Regards,
Susan

From: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Sent: Tuesday, March 23, 2021 3:30 PM
To: Guerette, Susan <sguerette@fisherphillips.com>; 'cgriesmeyer@grglegal.com' <cgriesmeyer@grglegal.com>
Cc: Dang-Vu, Khoi <Khoi.Dang-Vu@finra.org>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

To date FINRA has not received a status update regarding the court proceeding. Please provide a status update as soon
as possible.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
Follow us on Twitter @FINRA [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]




From: Huicochea, Elodia
Sent: Thursday, March 4, 2021 9:19 AM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>; cgriesmeyer@grglegal.com
Cc: Dang-Vu, Khoi <Khoi.Dang-Vu@finra.org>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good morning,

Hope all is well. Please provide our office with an update with regards to the court proceeding for the above mentioned
matter.

Kind Regards,

                                                            7
                                               Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 9 of 23 PageID #:2519
Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
Follow us on Twitter @FINRA [nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]
[nam12.safelinks.protection.outlook.com] [nam12.safelinks.protection.outlook.com]




From: Guerette, Susan <sguerette@fisherphillips.com>
Sent: Wednesday, January 27, 2021 10:55 AM
To: Dang-Vu, Khoi <Khoi.Dang-Vu@finra.org>; cgriesmeyer@grglegal.com
Cc: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Subject: RE: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

EXTERNAL: Verify sender before opening attachments or links.

Dear Khoi,

The Judge has set a briefing schedule on the request for injunctive relief and we will be following that schedule. We will
let you know as soon as there is a decision by the Court. Thank you very much.

Regards,
Susan


                                                                                                          Susan M. Guerette
    The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that
    the link points to the correct file and location.




                                                                                                          Attorney at Law
                                                                                                          Fisher & Phillips LLP
                                                                                                          Two Logan Square | 12th Floor | 100 N. 18th Street | Philadelphia, PA 19103
                                                                                                          sguerette@fisherphillips.com | O: (610) 230-2133 | F: (610) 230-2151
                                                                                                                            vCard [fisherphillips.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]
                                                                                                                 [nam12.safelinks.protection.outlook.com] | Bio
                                                                                                                               [fisherphillips.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]
                                                                                                                                                                   On the Front Lines of
                                                                                                                    [nam12.safelinks.protection.outlook.com]      Workplace Law℠
                                                                                                                    [nam12.safelinks.protection.outlook.com]
                                                                                                               [nam12.safelinks.protection.outlook.com] | Website
                                                                                                                               [fisherphillips.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]
                                                                                                                    [nam12.safelinks.protection.outlook.com]
                                                                                                                                                        8
                                                   Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 10 of 23 PageID #:2520

                                                         This message may contain confidential and privileged information. If it has been sent to you in error, please
                                                         reply to advise the sender of the error, then immediately delete this message.




From: Dang-Vu, Khoi <Khoi.Dang-Vu@finra.org>
Sent: Wednesday, January 27, 2021 11:45 AM
To: cgriesmeyer@grglegal.com; Guerette, Susan <sguerette@fisherphillips.com>
Cc: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Subject: FINRA Case ID 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Dear Counsels,

I am following up on previous requests sent to you the last few months for an update regarding the status of the TRO in
the above referenced matter. At your earliest convenience, please advise if there has been any update.

Best,

Khoi Dang-Vu

Khoi Dang-Vu
Case Administrator
FINRA Dispute Resolution Services
55 W. Monroe St., Ste. 2600
Chicago, IL 60603
312-899-4428 (phone)
Khoi.Dang-Vu@finra.org


Confidentiality Notice:: This email, including attachments, may include non-public, proprietary, confidential or legally
privileged information. If you are not an intended recipient or an authorized agent of an intended recipient, you are
hereby notified that any dissemination, distribution or copying of the information contained in or transmitted with this
e-mail is unauthorized and strictly prohibited. If you have received this email in error, please notify the sender by
replying to this message and permanently delete this e-mail, its attachments, and any copies of it immediately. You
should not retain, copy or use this e-mail or any attachment for any purpose, nor disclose all or any part of the contents
to any other person. Thank you.
TLS=45e0 5e6a -93ea -477a -8b 5a-2 46e fdf367 fa




                                                                                                                    9
           Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 11 of 23 PageID #:2521


Zachary Mulcrone

From:                             Huicochea, Elodia <Elodia.Huicochea@finra.org>
Sent:                             Wednesday, January 20, 2021 9:36 AM
To:                               'Guerette, Susan'
Cc:                               Chris Griesmeyer
Subject:                          RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor


Good morning,

Hope all is well. Please provide our office with an update with regards to the court proceeding for the above mentioned
matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA




From: Huicochea, Elodia
Sent: Thursday, January 7, 2021 12:39 PM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor
Importance: High

Good afternoon,

Hope all is well. Please provide our office with an update with regards to the court proceeding for the above mentioned
matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
                                                            1
         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 12 of 23 PageID #:2522
DR Portal
Follow us on Twitter @FINRA




From: Huicochea, Elodia
Sent: Wednesday, November 18, 2020 2:30 PM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

To date FINRA has not received a status update regarding the court proceeding. Please provide a status update as soon
as possible.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office

From: Huicochea, Elodia
Sent: Thursday, November 5, 2020 1:31 PM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

Hope all is well. Please provide our office with an update with regards to the court proceeding for the above mentioned
matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA




                                                            2
         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 13 of 23 PageID #:2523

From: Huicochea, Elodia
Sent: Monday, October 19, 2020 9:31 AM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good morning,

Hope all is well. Please provide our office with an update with regards to the court proceeding for the above mentioned
matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA




From: Huicochea, Elodia
Sent: Wednesday, September 30, 2020 8:26 AM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good morning,

Thank you for the update.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA



                                                            3
           Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 14 of 23 PageID #:2524




From: Guerette, Susan <sguerette@fisherphillips.com>
Sent: Tuesday, September 29, 2020 5:33 PM
To: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

EXTERNAL: Verify sender before opening attachments or links.

Elodia,

We are still proceeding in Court and have not yet obtained a decision on the pending injunction motion.

Regards,
Susan

From: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Sent: Tuesday, September 29, 2020 4:41 PM
To: Guerette, Susan <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

To date FINRA has not received a status update regarding the court proceeding. Please provide a status update as soon
as possible.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA [twitter.com]




                                                               4
                                         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 15 of 23 PageID #:2525

From: Huicochea, Elodia
Sent: Monday, September 21, 2020 3:35 PM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

Hope all is well. Please provide me with a status update for the above mentioned matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA [twitter.com]




From: Guerette, Susan <sguerette@fisherphillips.com>
Sent: Monday, August 24, 2020 7:03 PM
To: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

EXTERNAL: Verify sender before opening attachments or links.

Hi Elodia,

We do not yet have anything new to report on this case but we will let you know as soon as we do.

Regards,
Susan

                                                                                                          Susan M. Guerette
    The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that
    the link points to the correct file and location.




                                                                                                          Attorney at Law
                                                                                                          Fisher & Phillips LLP
                                                                                                          150 N. Radnor Chester Road | Suite C300 | Radnor, PA 19087
                                                                                                          sguerette@fisherphillips.com | O: (610) 230-2133 | F: (610) 230-2151
                                                                                                                              vCard
                                                                                                                   [fisherphillips.com] | Bio
                                                                                                                                              On the Front Lines of Workplace Law℠
                                                                                                               [fisherphillips.com] | Website
                                                                                                                       [fisherphillips.com]
                                                                                                                                                        5
         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 16 of 23 PageID #:2526

                  This message may contain confidential and privileged information. If it has been sent to you in error, please
                  reply to advise the sender of the error, then immediately delete this message.




From: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Sent: Monday, August 24, 2020 5:52 PM
To: Guerette, Susan <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

Hope all is well. Please provide me with a status update for the above mentioned matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA [twitter.com]




From: Huicochea, Elodia
Sent: Monday, August 17, 2020 12:55 PM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

Hope all is well. Please provide me with a status update for the above mentioned matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal
                                                                             6
         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 17 of 23 PageID #:2527

Follow us on Twitter @FINRA [twitter.com]




From: Huicochea, Elodia
Sent: Tuesday, August 4, 2020 3:55 PM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

Hope all is well. Please provide the date of the court hearing for the above mentioned matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA [twitter.com]




From: Huicochea, Elodia
Sent: Friday, July 31, 2020 8:54 AM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good morning,

Hope all is well. Please provide the date of the court hearing for the above mentioned matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603

                                                            7
         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 18 of 23 PageID #:2528
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA [twitter.com]




From: Huicochea, Elodia
Sent: Tuesday, July 21, 2020 2:03 PM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

Hope all is well. Please provide me with a status update for the above mentioned matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-Mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA [twitter.com]




From: Huicochea, Elodia
Sent: Thursday, July 2, 2020 9:49 AM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good morning,

Thank you for the update.

Have a good weekend!

Kind Regards,

Elodia Huicochea

                                                            8
                                         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 19 of 23 PageID #:2529
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA_DR [twitter.com]




From: Guerette, Susan <sguerette@fisherphillips.com>
Sent: Thursday, July 2, 2020 9:46 AM
To: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

EXTERNAL: Verify sender before opening attachments or links.

Nothing new to report.

                                                                                                          Susan M. Guerette
    The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that
    the link points to the correct file and location.




                                                                                                          Attorney at Law
                                                                                                          Fisher & Phillips LLP
                                                                                                          150 N. Radnor Chester Road | Suite C300 | Radnor, PA 19087
                                                                                                          sguerette@fisherphillips.com | O: (610) 230-2133 | F: (610) 230-2151
                                                                                                                              vCard
                                                                                                                   [fisherphillips.com] | Bio
                                                                                                                                              On the Front Lines of Workplace Law℠
                                                                                                               [fisherphillips.com] | Website
                                                                                                                       [fisherphillips.com]

                                                                                                          This message may contain confidential and privileged information. If it has been sent to you in error, please
                                                                                                          reply to advise the sender of the error, then immediately delete this message.




From: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Sent: Thursday, July 2, 2020 10:45 AM
To: Guerette, Susan <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good morning,

Please provide me with a status update for the above mentioned matter.

Kind Regards,

Elodia Huicochea
                                                                                                                                                                     9
         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 20 of 23 PageID #:2530
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA_DR [twitter.com]




From: Huicochea, Elodia
Sent: Friday, June 12, 2020 10:15 AM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Thank you for the update.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA_DR [twitter.com]




From: Guerette, Susan <sguerette@fisherphillips.com>
Sent: Friday, June 12, 2020 10:10 AM
To: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>; Guerette, Susan <sguerette@fisherphillips.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

EXTERNAL: Verify sender before opening attachments or links.

Ms. Huichochea,

The parties are still proceeding in Court and an injunctive order has not been issued at this time.

Have a good weekend.
                                                             10
                                         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 21 of 23 PageID #:2531


Regards,
Susan




Office Move Notice: The Philadelphia Office of Fisher Phillips is moving. As of Monday, June 15th, our new location will
be:
Two Logan Square, 12th Floor, 100 N. 18th Street, Philadelphia, PA 19103. Phone numbers will be unchanged. Thank
you.




                                                                                                          Susan M. Guerette
    The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that
    the link points to the correct file and location.




                                                                                                          Attorney at Law
                                                                                                          Fisher & Phillips LLP
                                                                                                          150 N. Radnor Chester Road | Suite C300 | Radnor, PA 19087
                                                                                                          sguerette@fisherphillips.com | O: (610) 230-2133 | F: (610) 230-2151
                                                                                                                           vCard
                                                                                                                  [fisherphillips.com] | Bio
                                                                                                                                              On the Front Lines of Workplace Law℠
                                                                                                               [fisherphillips.com] | Website
                                                                                                                      [fisherphillips.com]
                                                                                                          This message may contain confidential and privileged information. If it has been sent to you in error, please
                                                                                                          reply to advise the sender of the error, then immediately delete this message.




From: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Sent: Thursday, June 11, 2020 1:29 PM
To: Guerette, Susan <sguerette@fisherphillips.com>
Cc: 'Chris Griesmeyer' <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

Please provide me with a status update for the above mentioned matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA_DR [twitter.com]




                                                                                                                                                                    11
           Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 22 of 23 PageID #:2532



From: Huicochea, Elodia
Sent: Tuesday, June 2, 2020 12:48 PM
To: 'Guerette, Susan' <sguerette@fisherphillips.com>
Cc: Chris Griesmeyer <cgriesmeyer@grglegal.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good afternoon,

Please provide me with a status update for the above mentioned matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA_DR [twitter.com]




From: Guerette, Susan <sguerette@fisherphillips.com>
Sent: Tuesday, May 5, 2020 10:12 AM
To: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Cc: Chris Griesmeyer <cgriesmeyer@grglegal.com>; Guerette, Susan <sguerette@fisherphillips.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

EXTERNAL: Verify sender before opening attachments or links.

Ms. Huicochea,

An injunction has not been issued, I will let you know if the Court enters one.

FYI Ms. Taylor is represented by Christopher Griesmeyer (contact information below and also copied on this email).

Regards,
Susan


Christopher S. Griesmeyer
GREIMAN, ROME & GRIESMEYER, LLC
Two North LaSalle, Suite 1601
                                                             12
         Case: 1:20-cv-02133 Document #: 106-3 Filed: 02/23/22 Page 23 of 23 PageID #:2533
Chicago, Illinois 60602
(312) 428-2741 (Direct)
(312) 339-7439 (Mobile)




From: Huicochea, Elodia <Elodia.Huicochea@finra.org>
Sent: Tuesday, May 5, 2020 10:41 AM
To: Guerette, Susan <sguerette@fisherphillips.com>
Subject: RE: FINRA Case ID: 20-01110 Fidelity Brokerage Services LLC vs. Jennifer Allison Taylor

Good morning,

Please provide me with the status of the preliminary injunction for the above mentioned matter.

Kind Regards,

Elodia Huicochea
Senior Case Specialist, Midwest Regional Office
FINRA Dispute Resolution Services
55 W. Monroe Street, Suite 2600
Chicago, Illinois 60603
Tel: 312-899-4422
E-mail: Elodia.Huicochea@FINRA.org
DR Portal
Follow us on Twitter @FINRA_DR [twitter.com]




Confidentiality Notice:: This email, including attachments, may include non-public, proprietary, confidential or legally
privileged information. If you are not an intended recipient or an authorized agent of an intended recipient, you are
hereby notified that any dissemination, distribution or copying of the information contained in or transmitted with this
e-mail is unauthorized and strictly prohibited. If you have received this email in error, please notify the sender by
replying to this message and permanently delete this e-mail, its attachments, and any copies of it immediately. You
should not retain, copy or use this e-mail or any attachment for any purpose, nor disclose all or any part of the contents
to any other person. Thank you.




                                                            13
